                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE DIVISION

 Lovena Brown, n/k/a Turner,           )
 individually and on behalf of all others
                                       )
 similarly situated,                   )
                                       )
        Plaintiff,                     )
                                       )
        v.                             )          No. 3:18-cv-91
                                       )
 Financial Business and Consumer       )
 Solutions, Inc., d/b//a FBCS, Inc., a )
 Pennsylvania corporation, Midland     )
 Credit Management, Inc., a Kansas     )
 corporation and Midland Funding, LLC, )
 a Delaware limited liability company, )          Class Action
                                       )
        Defendants.                    )          Jury Demanded

                               CLASS ACTION COMPLAINT

        Plaintiff, Lovena Brown, n/k/a Turner, individually, and on behalf of all others

 similarly situated, brings this action under the Fair Debt Collection Practices Act, 15

 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ form debt collection

 letter violated the FDCPA, and to recover damages, and alleges:

                               JURISDICTION AND VENUE

        1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

 U.S.C. § 1331.

        2.     Venue is proper in this District because: a) the acts and transactions

 occurred here; and, b) Plaintiff and Defendants reside here.

                                            PARTIES

        3.     Plaintiff, Lovena Brown n/k/a Turner ("Brown"), is a citizen of the State of

 Tennessee, residing in the Eastern District of Tennessee, from whom Defendants




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 attempted to collect a defaulted consumer debt, which was allegedly owed originally to

 T-Mobile.

         4.     Defendant, Financial Business and Consumer Solutions, Inc., d/b/a FBCS,

 Inc. (“FBCS”), is a Pennsylvania corporation that acts as a debt collector, as defined by

 § 1692a of the FDCPA, because it regularly uses the mails and/or the telephone to

 collect, or attempt to collect, directly or indirectly, defaulted consumer debts. Defendant

 FBCS operates a nationwide debt collection business and attempts to collect debts from

 consumers in virtually every state, including consumers in the State of Tennessee. In

 fact, Defendant FBCS was acting as a debt collector as to the defaulted consumer debt

 it attempted to collect from Plaintiff.

         5.     Defendant, Midland Credit Management, Inc. (“MCM”), is a Kansas

 corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

 it regularly uses the mails and/or the telephone to collect, or attempt to collect, directly

 or indirectly, defaulted consumer debts. Defendant MCM operates a nationwide debt

 collection business and attempts to collect debts from consumers in virtually every

 state, including consumers in the State of Tennessee. In fact, Defendant MCM was

 acting as a debt collector as to the defaulted consumer debt it attempted to collect from

 Plaintiff.

         6.     Defendant, Midland Funding, LLC (“Midland”), is a Delaware limited

 liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

 because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

 directly or indirectly, defaulted consumer debts that it did not originate. Defendant

 Midland operates a nationwide debt collection business and attempts to collect debts



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 from consumers in virtually every state, including consumers in the State of Tennessee.

 In fact, Defendant Midland was acting as a debt collector, as that term is defined in the

 FDCPA, as to the defaulted consumer debt it attempted to collect from Plaintiff.

        7.     Defendant Midland is a bad debt buyer that buys large portfolios of

 defaulted consumer debts for pennies on the dollar, which it then collects upon through

 other collection agencies. Defendant Midland’s principal, if not sole, business purpose

 is the collection of defaulted consumer debts originated by others.

        8.     Defendants FBCS, MCM and Midland are all authorized to conduct

 business in Tennessee, and maintain registered agents here, see, records from the

 Tennessee Secretary of State, attached Group Exhibit A. In fact, Defendants FBCS,

 MCM and Midland conduct business in Tennessee.

        9.     Defendants FBCS and MCM are both licensed as debt collection agencies

 in the State of Tennessee, see, records from the Tennessee Department of Commerce

 & Insurance Administration, attached Group Exhibit B. In fact, all Defendants, FBCS,

 MCM and Midland act as a collection agencies in Tennessee.

                                FACTUAL ALLEGATIONS

        10.    More than 6 years ago, Ms. Brown allegedly fell behind on paying her T-

 Mobile debt. Sometime after that debt went into default, Defendant FBCS sent Ms.

 Brown an initial form collection letter, dated March 13, 2017. This collection letter

 stated:

                                            * * *

        Our client, MIDLAND CREDIT MANAGEMENT, INC., has authorized us to
        accept a 70% discount off your $1,120.84 outstanding balance to settle the
        account in full. The complete details of your account are:



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        Owner <                     MIDLAND FUNDING LLC
        Current Creditor <          MIDLAND CREDIT MANAGEMENT, INC.
        Original Creditor <         T-MOBILE

                                            * * *

 A copy of Defendants’ letter is attached as Exhibit C.

        11.    Defendants’ letter failed to explain what, if any, the difference was

 between the “Owner”, “Current Creditor”, and “Original Creditor”. Moreover, Plaintiff is

 informed through counsel that Defendant Midland likely bought the debt at issue after

 default and that Defendant FBCS was representing only Midland; Defendant MCM is

 not, nor ever was, the “creditor” of this debt. Thus, Defendants letter failed to state

 effectively the name of the creditor to whom the debt is owed.

        12.    A simple statement that FBCS represented Midland and that Midland was

 the creditor to whom the debt was owed, or that FBCS represented Midland who had

 purchased the debt, would have sufficed to effectively identify the name of creditor to

 whom the debt was then owed.

        13.    Violations of the FDCPA which would lead a consumer to alter his or her

 course of action as to whether to pay a debt, or which would be a factor in the

 consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, 827.

 Moreover, the identification of the creditor to whom a debt is owed is such a factor

 because, amongst other things, it is a factor for a consumer in determining whether an

 attempt to collect a debt is fraudulent, see, Janetos v. Fulton, Friedman & Gullace, 825

 F.3rd 317, 324-325 (7th Cir. 2016).

        14.    Moreover, Defendants letter further stated:

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        The law limits how long you can be sued on a debt and how long a debt
        can appear on your credit report. Due to the age of this debt, our client
        will not sue you for it or report payment or non-payment of it to a credit
        bureau.

                                              ***

 By identifying MCM as its client, and stating that “our client will not” sue or credit report,

 rather than that MCM “cannot” sue or credit report, the letter implied that MCM still had

 the option to take those actions, and that it was simply choosing not to do so , see,

 Exhibit C. Additionally, the letter failed to state that neither FBCS nor Midland could sue

 or credit report the debt.

        15.    In fact, none of the Defendants could sue to collect the debt at issue

 because it was time-barred by the statute of limitations in the State of Tennessee,

 namely Tennessee Code Annotated, §28-3-109(a)(3) (six years after the cause of

 action accrued).

        16.    In fact, none of the Defendants could file a credit report regarding the debt

 at issue because no such report can be made once 7 years has passed from the date of

 last payment/statement.

        17.    The failure of Defendants to disclose effectively that none of them could

 sue is material. In Tennessee collection agencies like FBCS and MCM can, and do, file

 collection lawsuits for their clients, and nationwide they also make credit reports for their

 clients. Thus, the lack of a proper disclosure would leave the consumer without enough

 information to make a decision as to what to do about the collection of the debt at issue

 and cause them to believe Defendants that the debt needed to be paid.

        18.    Defendants’ collection actions complained of herein occurred within one

 year of the date of this Complaint.


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        19.    Defendants’ collection communications are to be interpreted under the

 “least sophisticated consumer” standard, see, Hartman v. Great Seneca Financial

 Corp., 569 F.3d 606, 612 (6th Cir. 2009).

                                         COUNT I
                                Violation Of § 1692g(a)(2)
                   Failure To Effectively Identify The Current Creditor

        20.    Plaintiff adopts and realleges ¶¶ 1-19.

        21.    Section 1692g of the FDCPA requires that, within 5 days of Defendants’

 first communication to a consumer, Defendants had to provide Ms. Brown with an

 effective validation notice, containing, among other disclosures, “(2) the name of the

 creditor to whom the debt is owed;” see, 15 U.S.C. § 1692g(a)(2).

        22.    By stating that Midland was the current owner of the debt, but the MCM

 was the “current creditor”, Defendants’ form collection letter failed to identify effectively

 the current creditor to whom the debt was owed, in violation of § 1692g(a)(2) of the

 FDCPA, see, Janetos, 825 F.3rd at 324-325; see also, Long v. Fenton & McGarvey,

 2016 U.S. Dist. LEXIS 170421 (S.D. Ind. 2016); Pardo v. Allied Interstate, 2015 U.S.

 Dist. Lexis 125526 (S.D. Ind. 2015); Deschaine v. National Enterprise Systems, 2013

 U.S. Dist. LEXIS 31349 (N.D. Ill. 2013); Walls v. United Collection Bureau, 2012 U.S.

 Dist. LEXIS 68079 (N.D. Ill. 2012); Braatz v. Leading Edge Recovery Solutions, 2011

 U.S. Dist. LEXIS 123118 (N.D. Ill. 2011).

        23.    Defendants’ violation of § 1692g of the FDCPA render them liable for

 statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. § 1692k.




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                                        COUNT II
                          Violation Of § 1692e Of The FDCPA –
                   False, Deceptive, Or Misleading Collection Actions

        24.    Plaintiff adopts and realleges ¶¶ 1-19.

        25.    Section 1692e of the FDCPA prohibits a debt collector from using any

 false and/or any deceptive or misleading representation or means in connection with the

 collection of a debt, including, but not limited to, the false representation of the

 character, amount or legal status of any debt, see 15 U.S.C. § 1692e(2)(A). Moreover,

 debt collectors are barred from threatening to take any action that the collector cannot

 legally take, see, 15 U.S.C. § 1692e(5).

        26.    Making a false statement of the name of the current creditor is a materially

 misleading statement, which violates of § 1692e of the FDCPA, see, Tourgeman v.

 Collins Financial Services, 755 F.3d 1109, 1122 (9th Cir. 2014). By stating that MCM

 was the “current creditor” when, in fact, it was not, Defendants’ letter violated § 1692e of

 the FDCPA.

        27.    Moreover, attempts by debt collectors to collect time-barred debts via

 deceptive and misleading collection letters violate § 1692e of the FDCPA, see, Tatis v.

 Allied Interstate, 2018 U.S.App. LEXIS 3238 (3rd Cir. 2018); Pantoja v. Portfolio

 Recovery Assocs., 852 F.3d 679 (7th Cir. 2017), cert denied, 138 S.Ct 736 (U.S. 2018);

 Daugherty v. Convergent Outsourcing, 836 F.3d 507 (5th Cir. 2016); Buchanan v.

 Northland Group, 776 F.3d 393 (6th Cir. 2015); and McMahon v. LVNV Funding, 744

 F.3d 1010 (7th Cir. 2014). Although Defendants attempted to provide a disclaimer that

 the debt was time-barred, that disclaimer was ineffective because: a) they failed to

 foreclose the possibility that Defendants could not sue on the debt; and, b) they did not



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 state that FBCS and Midland had chosen not to sue. Thus, Defendants’ form letter

 violates § 1692e of the FDCPA, including § 1692e(2)(A) and § 1692e(5).

          28.   These are materially false or misleading statements that would lead any

 consumer to believe that they had to pay this debt to avoid being sued, credit reported

 or having to pay the full amount at some point in the future, see, Lox, 689 F.3d at 826.

          29.   Defendants’ violations of § 1692e of the FDCPA render them liable for

 statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. § 1692k.

                                        COUNT III
                          Violation Of § 1692f Of The FDCPA --
                      Unfair Or Unconscionable Collection Actions

          30.   Plaintiff adopts and realleges ¶¶ 1-19.

          31.   Section 1692f of the FDCPA prohibits a debt collector from using any

 unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

 1692f.

          32.   Defendants, by falsely stating that Midland Credit Management, Inc. was

 the original creditor when, in fact, it was not, violated § 1692f of the FDCPA.

          33.   Moreover, although Defendants attempted to provide a disclaimer that the

 debt was time-barred, that disclaimer was ineffective because: a) they failed to

 foreclose the possibility that all of the Defendants could not sue on the debt; and, b)

 they did not state that FBCS and Midland had chosen not to sue. Defendants, by

 attempting to collect a time-barred debt, used an unfair or unconscionable means to

 collect a debt, in violation of § 1692f of the FDCPA.

          34.   Defendants’ violation of § 1692f of the FDCPA render them liable for

 statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.



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                                    CLASS ALLEGATIONS

         35.    Plaintiff, Lovena Brown, brings this action individually and as a class

  action on behalf of all persons similarly situated in the State of Tennessee from whom

  Defendants attempted to collect a defaulted, time-barred consumer debt, allegedly

  owed for a T-Mobile account (i.e., where the date of last payment/statement is more

  than six years from the date of the letter), via the same form collection letter (Exhibit C),

  that Defendants sent to Plaintiff, from one year before the date of this Complaint to the

  present. This action seeks a finding that Defendants’ form letter violates the FDCPA,

  and asks that the Court award damages as authorized by § 1692k(a)(2) of the FDCPA.

         36.    Defendants regularly engage in debt collection, using the same form

  collection letter they sent Ms. Brown, in their attempts to collect defaulted consumer

  debts from other consumers.

         37.    The Class consists of more than 35 persons from whom Defendants

  attempted to collect defaulted consumer debts by sending other consumers the same

  form collection letter they sent Plaintiff Brown.

         38.    Ms. Brown’s claims are typical of the claims of the Class. Common

  questions of law or fact raised by this class action complaint affect all members of the

  Class and predominate over any individual issues. Common relief is therefore sought

  on behalf of all members of the Class. This class action is superior to other available

  methods for the fair and efficient adjudication of this controversy.

         39.    The prosecution of separate actions by individual members of the Class

  would create a risk of inconsistent or varying adjudications with respect to the individual

  members of the Class, and a risk that any adjudications with respect to individual



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  members of the Class would, as a practical matter, either be dispositive of the interests

  of other members of the Class not party to the adjudication, or substantially impair or

  impede their ability to protect their interests. Defendants have acted in a manner

  applicable to the Class as a whole such that declaratory relief is warranted.

         40.    Ms. Brown will fairly and adequately protect and represent the interests of

  the Class. The management of the class action proposed is not extraordinarily difficult,

  and the factual and legal issues raised by this class action complaint will not require

  extended contact with the members of the Class, because Defendants’ conduct was

  perpetrated on all members of the Class and will be established by common proof.

  Moreover, Plaintiff Brown has retained counsel experienced in class action litigation,

  including class actions brought under the FDCPA.

                                    PRAYER FOR RELIEF

         Plaintiff, Lovena Brown, n/k/a Turner, individually and on behalf of all others

  similarly situated, prays that this Court:

         1.     Certify this action as a class action;

         2.     Appoint Plaintiff Brown as Class Representative of the Class, and her

  attorneys as Class Counsel;

         3.     Find that Defendants’ form collection letter violates the FDCPA;

         4.     Enter judgment in favor of Plaintiff Brown and the Class, and against

  Defendants, for actual and statutory damages, costs, and reasonable attorneys’ fees as

  provided by § 1692k(a) of the FDCPA; and,

         5.     Grant such further relief as deemed just.




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                                        JURY DEMAND

         Plaintiff, Lovena Brown, n/k/a Turner, individually and on behalf of all others

  similarly situated, demands trial by jury.

                                                    Lovena Brown, n/k/a Turner, individually
                                                    and on behalf of all others similarly
                                                    situated,

                                                    By: /s/ David J. Philipps_____________
                                                    One of Plaintiff’s Attorneys

  Dated: March 8, 2018

  David J. Philipps      (Ill. Bar No. 06196285)
  Mary E. Philipps       (Ill. Bar No. 06197113)
  Philipps & Philipps, Ltd.
  9760 S. Roberts Road
  Suite One
  Palos Hills, Illinois 60465
  (708) 974-2900
  (708) 974-2907 (FAX)
  davephilipps@aol.com
  mephilipps@aol.com

  Cynthia T. Lawson (TN Bar No. 018397)
  Heather Banks      (TN Bar No. 023493)
  Bond, Botes & Lawson, P.C.
  6704 Watermour Way
  Knoxville, Tennessee 37912
  (865) 938-0733
  (865) 938-7931 (FAX)
  cynthialawson@bbllawgroup.com
  heatherbanks@bbllawgroup.com




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